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     Attorney(s) for Plaintiff Rothschild Broadcast Distribution Systems, LLC
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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9   ROTHSCHILD BROADCAST
     DISTRIBUTION SYSTEMS, LLC,
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                   Plaintiff,
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            v.                                      CASE NO. 3:21-cv-03117
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     EPIGNOSIS, LLC d/b/a
13                                                  JURY TRIAL DEMANDED
     TALENTLMS,
14
                   Defendant.
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18                                       COMPLAINT
19         Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or
20   “Rothschild Broadcast Distribution Systems”) files this complaint against Epignosis,
21   LLC d/b/a TalentLMS (“TalentLMS”) for infringement of U.S. Patent No. 8,856,221
22   (hereinafter the “`221 Patent”) and alleges as follows:
23                                         PARTIES
24         1.     Plaintiff is a Texas limited liability company with an office at 1 East
25   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
26         2.     On information and belief, Defendant is a Delaware limited liability
27   company, with a place of business at 315 Montgomery Street, 9th Floor, San Francisco,
28   CA 94104. On information and belief, Defendant may be served through its agent, The
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                  PLAINTIFF’S COMPLAINT AGAINST EPIGNOSIS, LLC D/B/A TALENTLMS
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 1   Corporation Trust Company, Corporation Trust Center, 1209 Orange St., Wilmington,
 2   DE 19801.
 3                                  JURISDICTION AND VENUE
 4           3.     This action arises under the patent laws of the United States, 35 U.S.C. §
 5   271 et seq. Plaintiff is seeking damages, as well as attorney fees and costs.
 6           4.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal
 7   Question) and 1338(a) (Patents).
 8           5.     On information and belief, this Court has personal jurisdiction over
 9   Defendant because Defendant has committed, and continues to commit, acts of
10   infringement in this District, has conducted business in this District, and/or has engaged
11   in continuous and systematic activities in this District.
12           6.     Upon information and belief, Defendant’s instrumentalities that are
13   alleged herein to infringe were and continue to be used, imported, offered for sale,
14   and/or sold in the District.
15           7.     Venue is proper in this District under 28 U.S.C. §1400(b) because
16   Defendant is deemed to be a resident in this District. Alternatively, acts of infringement
17   are occurring in this District and Defendant has a regular and established place of
18   business in this District.
19                                       BACKGROUND
20           8.     On October 7, 2014, the United States Patent and Trademark Office
21   (“USPTO”) duly and legally issued the `221 Patent, entitled “System and Method for
22   Storing Broadcast Content in a Cloud-Based Computing Environment” after the
23   USPTO completed a full and fair examination. The ‘221 Patent is attached as Exhibit
24   A.
25           9.     Rothschild Broadcast Distribution Systems is currently the owner of the
26   `221 Patent.
27           10.    Rothschild Broadcast Distribution Systems possesses all rights of
28   recovery under the `221 Patent, including the exclusive right to recover for past, present
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                    PLAINTIFF’S COMPLAINT AGAINST EPIGNOSIS, LLC D/B/A TALENTLMS
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 1   and future infringement.
 2         11.    The `221 Patent contains thirteen claims including two independent claims
 3   (claims 1 and 7) and eleven dependent claims.
 4                                        COUNT ONE
 5                   (Infringement of United States Patent No. 8,856,221)
 6         12.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the
 7   same as if set forth herein.
 8         13.    This cause of action arises under the patent laws of the United States and,
 9   in particular under 35 U.S.C. §§ 271, et seq.
10         14.    Defendant has knowledge of its infringement of the `221 Patent, at least
11   as of the service of the present complaint.
12         15.    The ‘221 Patent teaches a method and apparatus for media content storage
13   and delivery. ‘221 Patent, Abstract. Among other things, the claimed system includes
14   a server, which has a receiver in communication with a processor. Id. The receiver
15   receives a request message. Id. The request message includes media data indicating
16   requested media content and a consumer device identifier corresponding to a consumer
17   device. Id. The processor determines whether the consumer device identifier
18   corresponds to a registered consumer device. Id. If the processor determines that the
19   consumer device identifier corresponds to the registered consumer device, then the
20   processor determines whether the request message is one of a storage request message
21   and a content request message. Id. If the request message is the storage request message,
22   then the processor is further configured to determine whether the requested media
23   content is available for storage. Id. If the request message is the content request
24   message, then the processor initiates delivery of the requested media content to the
25   consumer device. Id.
26         16.    The present invention solves problems that existed with then-existing
27   media delivery systems. One problem with prior delivery systems is that the customer
28   was charged according to the expenses of the provider rather than the usage of the
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                   PLAINTIFF’S COMPLAINT AGAINST EPIGNOSIS, LLC D/B/A TALENTLMS
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 1   customer. ‘221 Patent, 1:31-57. Customers were not charged based on the amount of
 2   programming delivered or the amount or duration of the customer’s storage of media.
 3   Id. Another such problem, more generally, is that customers were not billed and
 4   services were not provided, in a way that was tailored to the customer’s needs and
 5   usage. Id., 2:3-13.
 6         17.    A number of aspects of the invention(s) embodied in the ‘221 Patent
 7   overcome the problems with the prior art. For example, the inventive system includes
 8   a processor in communication with a receiver. Id., 2:23-34. The processor determines
 9   media content characteristics that correspond to the media content to be stored. Id. The
10   processor determines a length of time to store the media content based on the media
11   data and determines a cost amount based at least in part on the determined media
12   content characteristics and length of time to store the media content. Id. As another
13   example, the system makes a determination that media content is available for
14   download. Id., 2:64-3:2. A determination is made that content is not stored. Download
15   of the media content is initiated. Id. The media content is received and the received
16   media content is stored. Id.
17         18.    The ‘221 Patent is directed to computerized technologies to provide users
18   with tailored media delivery systems and tailored billing for such systems. Among other
19   things, the ‘221 Patent claims include sending and receiving of request messages
20   indicating requested media content and including a device identifier corresponding to
21   a consumer device. A determination is made whether the identifier corresponds to the
22   device. A determination is also made as to whether the request is for delivery or
23   storage. The media data in the request includes time data that indicates a length of time
24   for storage. A processor is configured to determine whether requested media exists and
25   whether there are any restrictions associated with delivery or storage of the requested
26   media.
27         19.    The system(s) and methods of the ‘221 Patent include software and
28   hardware that do not operate in a conventional manner. For example, the software is
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                  PLAINTIFF’S COMPLAINT AGAINST EPIGNOSIS, LLC D/B/A TALENTLMS
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 1   tailored to provide functionality to perform recited steps and the processor is configured
 2   (and/or programmed) to provide functionality recited throughout the claims of the ‘221
 3   Patent.
 4         20.    The ‘221 Patent solves problems with the art that are rooted in computer
 5   technology and that are associated with electronic transmission, loading, and storage of
 6   location information, as well as automatic provisioning of route guidance. The ‘221
 7   Patent claims do not merely recite the performance of some business practice known
 8   from the pre-Internet world along with the requirement to perform it on the Internet.
 9         21.    The improvements of the ‘221 Patent and the features recited in the claims
10   in the ‘221 Patent provide improvements to conventional hardware and software
11   systems and methods. The improvements render the claimed invention of the ‘221
12   Patent non-generic in view of conventional components.
13         22.    The improvements of the ‘221 Patent and the features recitations in the
14   claims of the ’221 Patent are not those that would be well-understood, routine or
15   conventional to one of ordinary skill in the art at the time of the invention.
16         23.    Accordingly, Defendant has infringed, and continues to infringe, the `221
17   Patent in violation of 35 U.S.C. § 271. Upon information and belief, Defendant has
18   infringed and continues to infringe one or more claims, including at least Claim 7, of
19   the ‘221 Patent by making, using, importing, selling, and/or offering for media content
20   storage and delivery systems and services covered by one or more claims of the ‘221
21   Patent.
22         24.    Defendant sells, offers to sell, and/or uses media content storage and
23   delivery systems and services, including, without limitation, the “TalentLMS” video
24   learning platform, any associated hardware, software and apps, as well as any similar
25   products (“Product”), which infringe at least Claim 7 of the ‘221 Patent.
26         25.    The Product practices a method of storing (e.g., cloud storage) media
27   content (e.g., conference recording) and delivering requested media content (streaming
28   video, recorded videos, etc.) to a consumer device (e.g., mobile device with app or
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                  PLAINTIFF’S COMPLAINT AGAINST EPIGNOSIS, LLC D/B/A TALENTLMS
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 1   software). Certain aspects of these elements are illustrated in the screenshots below
 2   and/or in those provided in connection with other allegations herein.
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           26.    The Product necessarily includes a receiver configured to receive a request
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     message including data indicating requested media content (e.g., the Product must have
19
     infrastructure to receive a request to store recorded media content or to stream recorded
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     media content on a smartphone; additionally, the request message must contain data
21
     that identifies the content to be stored or streamed) and a consumer device identifier
22
     corresponding to a consumer device (e.g., the user credentials are used to access the
23
     contents of the Product). Certain aspects of these elements are illustrated in the
24
     screenshots below and/or in those provided in connection with other allegations herein.
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                  PLAINTIFF’S COMPLAINT AGAINST EPIGNOSIS, LLC D/B/A TALENTLMS
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           27.    The Product necessarily determines whether the consumer device
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     identifier corresponds to the registered consumer device (e.g., a user must be a
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     registered user to access the Product’s services). Certain aspects of these elements are
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     illustrated in the screenshots below and/or in those provided in connection with other
23
     allegations herein.
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18         28.    The Product provides for both media downloads and/or storage, and media

19   streaming. After a successful login, the Product necessarily determines whether the

20   request received from a customer is a request for storage (e.g., recording or storing

21   content) or content (e.g., streaming of media content). Certain aspects of these elements

22   are illustrated in the screenshots below and/or in those provided in connection with

23   other allegations herein.

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                  PLAINTIFF’S COMPLAINT AGAINST EPIGNOSIS, LLC D/B/A TALENTLMS
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20         29.    The Product verifies that media content identified in the media data of the
21   storage request message (e.g., request to record content) is available for storage in order
22   to prevent data errors that would result from attempting to store content that is not
23   available for storage. The Product must verify that the media content (e.g. specific
24   recording) identified in the media data of the storage request message is available for
25   storage in order to prevent data errors that would result from attempting to store content
26   that is not available for storage (e.g., the product must verify a user’s ability to store
27   media content is limited to a certain amount of time). If any media content is streamed
28   using a third party platform then it will be automatically stored in that particular
                                               15
                   PLAINTIFF’S COMPLAINT AGAINST EPIGNOSIS, LLC D/B/A TALENTLMS
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 1   platform. Certain aspects of these elements are illustrated in the screenshots below
 2   and/or in those provided in connection with other allegations herein.
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           30.   If a customer requests content (e.g., live streaming of media content), then
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     a processor within the Product necessarily initiates delivery of the content to the
19
     customer’s device. The Product will initiate delivery of the requested media content to
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     the consumer device (e.g., stream media content feed to a smartphone or tablet etc.) if
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     the request message is a content request message (e.g., request for live streaming).
22
     Certain aspects of these elements are illustrated in the screen shots below and/or in
23
     screen shots provided in connection with other allegations herein.
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           31.    The media data includes date and time information to identify conference
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     start and stop times, as well as meeting length. Time data may also indicate a length of
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     time to store the requested media content (e.g. a user is allowed to store media content
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     for a retention period configured by the user per their subscription level). Certain
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 1   aspects of these elements are illustrated in the screenshots below and/or in those
 2   provided in connection with other allegations herein.
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18         32.     The Product must first determine whether the requested media content
19   exists prior to initiating delivery in order to prevent data errors that would result from
20   attempting to transmit media content that does not exist (e.g., the product must verify
21   that a particular requested data is stored in the cloud). Also, a user can view the history
22   of media content and the processor can identify the existence of that particular media
23   content. Certain aspects of these elements are illustrated in the screenshots below
24   and/or in those provided in connection with other allegations herein.
25         33.    After the processor determines whether the requested media content is
26   available, it determines whether there are restrictions associated with the requested
27   media content (e.g., user access restrictions, etc.). Certain aspects of these elements are
28   illustrated in the screenshots below and/or those provided in connection with other
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                   PLAINTIFF’S COMPLAINT AGAINST EPIGNOSIS, LLC D/B/A TALENTLMS
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 1   allegations herein.
 2            34.   Defendant’s actions complained of herein will continue unless Defendant
 3   is enjoined by this Court.
 4            35.   Defendant’s actions complained of herein is causing irreparable harm and
 5   monetary damage to Plaintiff and will continue to do so unless and until Defendant is
 6   enjoined and restrained by this Court.
 7            36.      The `221 Patent is valid, enforceable, and was duly issued in full
 8   compliance with Title 35 of the United States Code.
 9            37.       A copy of the ‘221 Patent, titled “System and Method for Storing
10   Broadcast Content in a Cloud-based Computing Environment,” is attached hereto as
11   Exhibit A.
12            38.      By engaging in the conduct described herein, Defendant has injured
13   Plaintiff and is liable for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.
14            39. Defendant has committed these acts of literal infringement, or infringement
15   under the doctrine of equivalents of the `221 Patent, without license or authorization.
16            40. As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff
17   has suffered monetary damages and is entitled to a monetary judgment in an amount
18   adequate to compensate for Defendant’s past infringement, together with interests and
19   costs.
20            41.   Plaintiff is in compliance with 35 U.S.C. § 287.
21            42.    As such, Plaintiff is entitled to compensation for any continuing and/or
22   future infringement of the `221 Patent up until the date that Defendant ceases its
23   infringing activities.
24                                DEMAND FOR JURY TRIAL
25            43.   Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal
26   Rules of Civil Procedure, requests a trial by jury of any issues so triable by right.
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                     PLAINTIFF’S COMPLAINT AGAINST EPIGNOSIS, LLC D/B/A TALENTLMS
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 1                                 PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff asks the Court to:
 3         (a)   Enter judgment for Plaintiff on this Complaint on all cases of action
 4   asserted herein;
 5         (b)     Enter an Order enjoining Defendant, its agents, officers, servants,
 6   employees, attorneys, and all persons in active concert or participation with Defendant
 7   who receives notice of the order from further infringement of United States Patent No.
 8   8,856,221 (or, in the alternative, awarding Plaintiff running royalty from the time
 9   judgment going forward);
10         (c)   Award Plaintiff damages resulting from Defendant’s infringement in
11   accordance with 35 U.S.C. § 284;
12         (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled
13   under law or equity.
14

15   Dated: April 28, 2021                         Respectfully submitted,
16
                                                   /s/ Stephen M. Lobbin
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19                                                 888 Prospect Street, Suite 200
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                                                   (949) 636-1391 (Phone)
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22                                                 Attorney(s) for Plaintiff Rothschild
                                                   Broadcast Distribution Systems, LLC
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                  PLAINTIFF’S COMPLAINT AGAINST EPIGNOSIS, LLC D/B/A TALENTLMS
